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AO 458 (Rev. 01/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                          for the
                                                Eastern District
                                             __________  DistrictofofVirginia
                                                                      __________


                      UNITED STATES                             )
                             Plaintiff                          )
                                v.                              )      Case No.    1:10-CR-279
              EUGENE ATHONY THOMAS                              )
                            Defendant                           )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am authorized to practice in this court, and I appear in this case as counsel for:

         the United States                                                                                          .


Date:         05/23/2018                                                               /s/ William G. Clayman
                                                                                           Attorney’s signature

                                                                                     William G. Clayman - USAO
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